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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                           February 27, 2018
                                   UNITED STATES DISTRICT COURT
                                                                                           David J. Bradley, Clerk
                                    SOUTHERN DISTRICT OF TEXAS
                                      CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                                       §
                                                               §
VS.                                                            §   CRIMINAL NO. 2:18-CR-00045-1
                                                               §
EMILIO TREJO JR.                                               §

                                FINDINGS AND RECOMMENDATION
                                      ON PLEA OF GUILTY

           United States District Judge Nelva Gonzales Ramos referred this case to the

undersigned United States Magistrate Judge for the purpose of conducting a guilty plea

proceeding pursuant to Rule 11 of the Federal Rules of Criminal Procedure. 1                         The

undersigned submits these Findings and Recommendation to the District Judge pursuant

to 28 U.S.C. § 636(b)(3). All parties have waived the right to plead before a United

States District Judge, and additionally, have consented to proceed before the undersigned.

           On February 27, 2018, the defendant appeared with counsel before the

undersigned Magistrate Judge and pleaded guilty to Count One (1) of the indictment

pursuant to a written plea agreement. The defendant was personally addressed in open

court and admonished pursuant to Rule 11 of the Federal Rules of Criminal Procedure as

follows:

       1.     The defendant was placed under oath and advised that any false answers
given during the plea proceeding could be used by the United States against the defendant
in a prosecution for perjury or for making a false statement.


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    See Special Orders on file with the U.S. District Clerk.


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       2.       The defendant was advised that Count One (1) of the indictment charged
him with transporting an undocumented alien in violation of Title 8, United States Code,
Sections 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(ii). The defendant
was advised that these sections of Title 8 make it unlawful for any person knowing of the
fact that an alien had come to, entered and remained in the United States in violation of
law, to knowingly and intentionally transport said alien within the United States in
furtherance of such violation by means of a motor vehicle.

       3.     The defendant was advised of the defendant’s right to a jury trial, the right
to the presumption of innocence, the right to require that the United States prove each of
the elements of the offense to a jury beyond a reasonable doubt. The defendant was
further advised that the right to a jury trial included the right to see, hear and cross-
examine witnesses, the right to compel witnesses to appear on the defendant’s behalf, and
the right to testify on the defendant’s behalf or to remain silent. The defendant was
advised that a plea of guilty would waive the right to a jury trial, the right to see, hear and
cross examine witnesses, the right to compel witnesses to appear in the defendant’s
behalf, and the right to remain silent.

       4.     The defendant was advised that the elements of the offense are as follows:
(1) That an alien had entered or remained in the United States in violation of the law; (2)
That the defendant knew the alien was in the United States in violation of law; and (3)
That the defendant transported the alien within the United States with intent to further the
alien’s unlawful presence.

       5.     The defendant was advised that the maximum possible sentence included a
prison term of up to five years plus a maximum fine of up to $250,000, and a period of
supervised release of not more than three years, and that any violation of supervised
release could result in an additional prison term of up to a maximum of two years.

       The defendant also was advised that even if he received the maximum two year
sentence for violation of supervised release, if he had not completed his full term of
supervised release, he could be re-released to supervised release, and if revoked again he
could receive up to a two year sentence again. The defendant was advised that this could
happen multiple times until he had completed serving his term of supervised release.

       The defendant also was advised that a mandatory $100 special assessment applied
to this felony conviction. The defendant was further advised a non-indigent person
convicted of the instant offense will be assessed an additional $5,000 assessment. See the
“Justice for Victims of Trafficking Act of 2015”, Pub. L. No. 114-22.

       6.     The defendant was advised of the District Court’s obligation to calculate
the applicable advisory sentencing guideline range and to consider that advisory range,
possible departures and variances under the Sentencing Guidelines, and other sentencing

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factors under 18 U.S.C. § 3553(a). The defendant further stated that he understood and
had discussed with his attorney how the guidelines might be calculated in his case and
applied to him.

       7.     The defendant was advised that his written plea agreement with the United
States included a promise that the United States would recommend maximum credit for
acceptance of responsibility, a sentence within the applicable guideline range as decided
by the District Court and a recommendation that any remaining counts be dismissed at
the time of sentencing. If the defendant provided substantial assistance, the United States
may move for a downward departure for substantial assistance pursuant to U.S.S.G.
§5K1. The defendant was further advised that the decision about whether to move for a
downward departure was a decision solely in the discretion of the attorney for the United
States, and the decision whether to grant such a motion rested with the sentencing judge.
The defendant was further advised that the plea agreement included only a promise by the
United States to make a certain recommendation to the sentencing court, not a promise by
the sentencing court to impose a certain sentence.

       8.    The defendant was further advised that the plea agreement contained a
waiver of his right to appeal and to file any petitions collaterally challenging his
conviction. However, the defendant may raise a claim for ineffective assistance of
counsel. The defendant stated that he had discussed the appeal waiver with his attorney
and he understood that he was knowingly waiving his right to appeal the conviction and
sentencing decision of the District Court. The defendant also stated that he was
knowingly waiving his right to file a petition collaterally challenging his conviction.
The defendant further stated that he was asking the District Court to accept the plea
agreement with the waiver of his appellate rights.

       9.     The defendant was advised that if he is not a citizen of the United States,
pleading guilty may subject him to removal from the United States, denial of admission
to the United States or denial of citizenship.

       The defendant stated that he had received a copy of the indictment, he understood

the nature of the charge, the maximum possible penalty, and the consequences of

pleading guilty. The defendant further stated that the plea of guilty was made freely and

voluntarily, and did not result from any force, threats or coercion, and no one had

promised the defendant a certain sentence. The defendant stated that he understood that if




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he did not receive the sentence hoped for, he could not withdraw his plea of guilty. The

undersigned finds the defendant to be sufficiently competent to enter a plea of guilty.

        The defendant pleaded guilty to the offense of transporting an undocumented alien

in    violation   of   Title   8,   United    States   Code,      Sections   1324(a)(1)(A)(ii),

1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(ii) as alleged in Count One (1) of the indictment.

The defendant agreed with the factual basis provided by the Assistant United States

Attorney during the plea proceedings. The factual basis establishes the elements of the

offense and that the defendant is guilty of the offense.

        The undersigned United States Magistrate Judge finds that defendant’s guilty plea

was freely and voluntarily tendered and did not result from force, threats, or promises and

that an adequate factual basis exists in relation to this plea.

                                    RECOMMENDATION

        It is respectfully recommended that the District Court adopt the foregoing

findings, accept the defendant’s plea of guilty, and enter a finding that the defendant is

guilty as charged in Count One (1) of the indictment.

        Respectfully submitted this 27th day of February, 2018.


                                                ___________________________________
                                                             Jason B. Libby
                                                      United States Magistrate Judge




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                                NOTICE TO PARTIES

       The Clerk will file the Findings and Recommendation on Plea of Guilty and

transmit a copy to each party or counsel. Within FOURTEEN (14) DAYS after being

served with a copy of the Memorandum and Recommendation, a party may file with the

Clerk and serve on the United States Magistrate Judge and all parties, written objections,

pursuant to Fed. R. Crim. P. 59(b), 28 U.S.C. § 636(b)(1), and General Order No. 2002-

13, United States District Court for the Southern District of Texas.

       A party’s failure to file written objections to the proposed findings, conclusions,

and recommendation in a magistrate judge’s report and recommendation within

FOURTEEN (14) DAYS after being served with a copy shall bar that party, except upon

grounds of plain error, from attacking on appeal the unobjected-to proposed factual

findings and legal conclusions accepted by the district court. Douglass v. United Servs.

Auto Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).




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